       Case 8:19-bk-14536-MH                        Doc 8 Filed 11/20/19 Entered 11/20/19 11:38:24                                        Desc Ch
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Information to identify the case:
Debtor 1                 Nancy Lynn Berg                                                        Social Security number or ITIN    xxx−xx−7619

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                 John Gregory Berg                                                      Social Security number or ITIN    xxx−xx−3693
(Spouse, if filing)
                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Central District of California
                                                                                                Date case filed for chapter 13 11/20/19
Case number:          8:19−bk−14536−CB



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Nancy Lynn Berg                                               John Gregory Berg

2. All other names used in the
   last 8 years
                                              25683 San Lupe Ave                                            25683 San Lupe Ave
3. Address                                    Moreno Valley, CA 92551                                       Moreno Valley, CA 92551
                                              William Ha                                                    Contact phone 424−205−8058
                                              Law Office of William Ha                                      Email ____________________
4. Debtor's attorney
     Name and address
                                              206 W 4TH ST
                                              218
                                              Santa Ana, CA 92701

5. Bankruptcy trustee                         Amrane (SA) Cohen (TR)                                        Contact phone 714−621−0200
     Name and address                         770 The City Drive South Suite 8500                           Email ____________________
                                              Orange, CA 92868

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed                                                                    9:00AM to 4:00 PM
     at this address.                         411 West Fourth Street, Suite 2030,                           Contact phone 855−460−9641
     You may inspect all records filed in     Santa Ana, CA 92701−4593                                      Dated: 11/20/19
     this case at this office or online at
      www.pacer.gov.
                                                                                                                                                                /
                                                                                                        For more information, see pages 2 and 3




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7. Meeting of creditors
    Debtors must attend the meeting to     January 7, 2020 at 10:00 AM                                       Location:
    be questioned under oath by the                                                                         411 W Fourth St., Room 1−154, Santa Ana, CA
    trustee and by creditors. In a joint   The meeting may be continued or adjourned to a later             92701
    case, both spouses must attend.        date. If so, the date will be on the court docket.
    Creditors may attend, but are not
    required to do so.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 3/9/20
    The bankruptcy clerk's office must     dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 1/29/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 5/18/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.

                                           Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a
                                           lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                           nonmonetary rights, including the right to a jury trial.


                                           Deadline to object to exemptions:                                        Filing deadline:     30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Hearing on Confirmation of The hearing on confirmation will be held on:
   Plan                       2/6/20 at 01:30 PM , Location: 411 W Fourth St., Crtrm 5D, Santa Ana, CA 92701

                                           The plan will be sent separately by the debtor.


10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. The plan will be sent separately by the debtor, and the
                                           confirmation hearing will be held on the date shown in line 9 of this notice. The debtor will remain in possession
                                           of the property and may continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.
                                                                                                           For more information, see pages 1 and 3




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 14. Proof of Debtor Identification (ID)    The U.S. Trustee requires that individual debtors must provide to the trustee at the meeting of creditors an
     and Proof of Social Security           original picture ID and proof of SSN. Failure to do so may result in the U.S. Trustee bringing a motion to
     Number(SSN)                            dismiss the case. Permissible forms of ID include a valid state driver's license, government or state−issued
                                            picture ID, student ID, military ID, U.S. Passport or legal resident alien card. Proof of SSN includes Social
                                            Security Card, current W−2 form, pay stub, payment advice, IRS Form 1099, Social Security Administration
                                            Report, or other official document which indicates name and SSN.

 15. Failure to File a Statement and/or    IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
     Schedule(s)                           DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition
                                           filing date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of
                                           creditors and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If
                                           the debtor's case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE
                                           FOLLOWING WITHIN 45 DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy
                                           Code section 521(i)(4), the court WILL dismiss the case effective on the 46th day after the petition date
                                           without further notice: (1) file all documents required by Bankruptcy Code section 521(a)(1); or (2) file and
                                           serve a motion for an order extending the time to file the documents required by this section.

                                           SI EL DEUDOR NO HA PRESENTADO UNA DECLARACIÓN Y/O LISTA(S) DE ACREEDORES Y/U
                                           OTROS DOCUMENTOS REQUERIDOS, tendrá que hacerlo dentro de un plazo de 14 días a partir de la
                                           fecha de presentación de la petición o tendrá que obtener una extensión del plazo para hacerlo. Si no
                                           cumple usted este requisito, o si no comparece a la junta 341(a) inicial de acreedores o a cualquier
                                           aplazamiento, esto resultará en que se declare sin lugar el caso, a menos de que obtenga un permiso del
                                           tribunal. Si no se ha declarado sin lugar el caso del acreedor, Y EL ACREEDOR NO HACE UNA DE LAS
                                           SIGUIENTES COSAS DENTRO DE UN PLAZO DE 45 DÍAS A PARTIR DE LA FECHA DE LA PETICIÓN,
                                           de acuerdo con lo dispuesto en la sección 521(i)(4) del Código de Quiebras, el juez DECLARARÁ el caso
                                           sin lugar a partir de el 46o día después de la fecha de presentación de petición sin más notificación: (1)
                                           registrar en actas todos los documentos que requiere la sección 521(a)(1) del Código de Quiebras; o (2)
                                           registrar y hacer entrega formal de una moción para pedir una orden que extienda el tiempo en que se
                                           pueden registrar en actas los documentos que requiere dicha sección.

 16. Failure to Appear at the Section      Appearance by debtor(s) and the attorney for debtor(s) is required at both the section 341(a) meeting
     341(a) Meeting and Hearing of         and the confirmation hearing. Unexcused failure by the debtor(s) to appear at either the section 341(a)
     Confirmation of Chapter 13 Plan       meeting and/or the confirmation hearing may result in dismissal of the case.

 17. Bankruptcy Fraud and Abuse            Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud
                                           Complaint Coordinator, Office of the United States Trustee, 411 West Fourth Street, Suite 7160, Santa
                                           Ana, CA 92701.

                                                                                                        For more information, see pages 1 and 2




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